                           DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution. On February 4, 2009, the court issued a Journal Entry setting out a schedule for the exchange of information between the parties. Defendant provided Plaintiff a list of information needed. Plaintiff was to reply no later than March 5, 2009. On March 9, 2009, Defendant notified the court that it had not received the requested materials.
On March 12, 2009, the court issued another Journal Entry, stating that if the court did not hear from Plaintiff within 14 days of the date of the Journal Entry, the court would dismiss the appeal for lack of prosecution. As of this date, neither the court nor Defendant has received any contact from Plaintiff. As a result, the court concludes the appeal should be dismissed. Now therefore,
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this _____ day of April 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on April 9,2009.
 The Court filed and entered this document on April 9, 2009. *Page 1 